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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                         CASE NO.: 13-20583-CR-ZLOCH/HUNT

  UNITED STATES OF AMERICA,

  v.

  JOSEPH AKINS OWANIKIN,
     a/k/a “Joe Akins,”
                    Defendant.
  ______________________________/

             REQUEST FOR COMMENCEMENT OF TRIAL DATE AND
                       NOTICE OF UNAVAILABILITY

         On September 9, 2015, the Court held a scheduled change of plea hearing. At the

  hearing, the Defendant told the Court that he needed more time to decide whether to

  plead guilty or exercise his right to jury trial. Later that day, after he conferred with his

  attorney, the Defendant, through his attorney, advised the undersigned that he definitely

  did not wish to plead guilty and that he wanted a jury trial. The Defendant is in custody,

  pretrial detained. The Court previously granted an unopposed motion to continue trial.

         Both parties are ready to try this matter during the scheduled two-week trial period

  beginning September 21, 2015. However, based on the Defendant’s previously expressed

  desire to plead guilty and the Government’s good faith belief that there would be no trial,

  the undersigned scheduled and paid for a wedding anniversary trip out of the District to

  begin the last day of the trial period, which is October 2, 2015.

         According to the parties’ estimation, this matter should take no more than three to

  five days to try. Thus, to avoid interfering with the undersigned’s trip, the parties both
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  request that the jury trial begin as early as the Court will allow, preferably Monday,

  September 21, 2015.

                                                       Respectfully submitted,
                                                       WIFREDO A. FERRER
                                                       UNITED STATES ATTORNEY

                                                    By: /s/Roger Cruz
                                                      ROGER CRUZ
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was

  electronically filed with the Court's CM/ECF system on this 10th day of September 2015.


                                                      By: /s/ Roger Cruz
                                                        Assistant United States Attorney




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